Case 1:04-cr-00127-RCT Document 142 Filed 01/12/05 Page 1 of 5

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IN TI-]E UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF IDAHO
)
UNITED STATES OF AMERlCA, )
)
Plaintiff, ) Case No. CR~04-127-S-RCT
)
v. )
) MEMORANDUM GRDER
DAVID ROLAND HINKSON, ) REGARDING MOTION FOR
) REL§EF FROM WA§VER UF
) VINDIC'§TVE PROSECUTION
) DEFENSE
Defendant. )
)

 

Pending before the Court is Defendant David Roland Hinkson’S Motion for
Relief from Waiver ofVindictiVe Prosecution Defense Based on Good Cause

(Docket # 137) filed moments before the jury Was sworn to try this cause on

MEMORANDUM DECISION ANI) ORDER re MOTION FOR RELIEF- 1

 

 

Case 1:04-cr-00127-RCT Document 142 Filed 01/12/05 Page 2 of 5

January ii, 2005 ; and the dependent Motion to Disiniss Superseding indictment
for Prosecutorial Misconduct, Outrageous Governrnental Condnct and Vindictive
Prosecution (and Request for Discovery, Evidentiary Hearing and Sanctions)
(Docket # 138).

Defendant argues that the Government acted in bad faith by delaying the

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discovery of smoking gun’ exculpatory evidence.” The evidence that Defendant
relies upon is the Federal Bnreau of lnvestigation Report (Form 302) of a
telephone interview by an agent in Salt Lake City, Utah, regarding the statements
of brothers Gustavo Martinez-Piedras and }uan Carlos MartineZ-Piedras Who Were
reportedly in MeXico When interviewed The report states that in the conversation
the Martinez-Piedras brothers deny the ailegations made by their sister, Mariana
Raff`, regarding Hini<son’s attempt to hire them to murder federal officials

Defendant grossly mischaracterizes both the significance and the relevance
of the information provided in the FBI Forrn 302 report. As the Court found When
it recently denied Defendant’s Motion for De Novo Detention Hearing:

Defendant’s argument that the release of the brothers’ statements is

an admission by the United States that Mariana Raff lied and must

have provided false information is Without merit. The Conrt is simply

faced With conflicting evidence on a fact no longer relevant to the
detention issue. There is no Way to resolve the conflict because Raff`

MEMORAN])UM DECISION AND ORDER re MOTION FOR RELIEF- 2

 

 

Case 1:O4-cr-00127-RCT Document 142 Filed 01/12/05 Page 3 of 5

and her brothers are in Mexico and are beyond the reach of this

Court’s process. The Court has no basis on which to find that the

MartineZ-Piedras brothers are more credible than Mariana Raff.

Without more, it would be reasonable to give more credit to Mariana

Raff’s statements than her brothers because her statements were in

part against her own penal interests: she previously admitted to aiding

in the solicitation to murder others. Her brothers’ exculpatory

statements were entirely in their own self-interests: they deny any and

all allegations of wrongdoing on the part of themselves, their sister,

and Hinl<son from the relative safety of a place from which it would

be very difficult to extract them or obtain reliable sworn testimony in

conformance with law and treaties to prove otherwise
Order, at 5, n.l (Docket # 129). Further, the Government informed the Court
weeks ago that it did not intend to rely on l\/iariana Raff’ s testimony and so may
reasonably have thought that this information was not discoverable because it is
irrelevant to the proceedings in the Solicitation Case. Had the Government
disclosed this information prior to the November 8, 2004, pretrial motions filing
deadline (which Defendant has repeatedly ignored), the proffered evidence would
still not have been sufficient to show prosecutorial misconduct Therefore,
Defendant has not presented the Court with any evidence to support a showing of
good cause to excuse the untimely filing.

Moreover, Defendant fails to explain why he waited until January ll, 2005,

just before the jury was to be sworn in the Solicitation Case, to file this motion.

MEMORANDUM DECISION AND ORDER re MOTION FOR RELIEF= 3

 

 

Case 1:O4-cr-00127-RCT Document 142 Filed 01/12/05 Page 4 of 5

The basis for the motion is information disclosed by the Governrnent to the
Defendant on December 6, 2004. The Court noted on the record on Deceinber 7,
2004, when defense counsel vigorously argued that the Raff evidence was relevant
to his defense, that no motion had been filed to take evidence in foreign countries
under the applicable Mutual Legal Assistance Treaty between the United States
and Mexico, despite Defendant’s knowledge of the Raff allegations since April
2003, and thus the issue was not properly then pending before this Court. The
Defendant therefore had ample notice and over one month to file motions related
to this report, and in fact filed a separate motion based on that same evidence, See
Docl<et # 106, and so had sufficient time to bring this motion at an earlier date
than on the brink of jeopardy attaching Filing it on the day the jury is sworn and
the trial is beginning does nothing but divert the Court’s attention from more
pressing trial-related issues such as ruling on the admissibility of contested
transcripts and other proffered trial evidence

Accordingly, the Defendant’s Motion for Relief from Waiver of Vindictive
Prosecution Defense Based on Good Cause (Docket # 137) is DENIED as both
untimely With no adequate excuse for non-compliance and for lack of merit

because no good cause has been shown. His dependent Motion to Dismiss

MEMORANDUM DEClSION AND ORDER re MOTION FOR RELIEF- 4

 

 

Case 1:O4-cr-00127-RCT Document 142 Filed 01/12/05 Page 5 of 5

Superseding lndictment for Prosecutorial Misconduct, Outrageous Governmental
Conduct and Vindictive Prosecution (and Request for Discovery, Evidentiary
Hearing and Sanctions) (Docl<:et # 138) is DENIED as untimely and will not be
considered

IT IS SO ORDERED.

DATED this 12th day of January, 2005, at Boise, Idaho.

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RICHARD C. rALIMAN
United States Circuit Judge
Sitting by designation

MEMORANDUM DECISION ANl) ORDER re MO'I`ION FOR RELIEF- 5

 

